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                              **NOT FOR PRINTED PUBLICATION**

                           IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                      LUFKIN DIVISION

 MARCELLA COOK                                      §
 fka Jane SFA-CM Doe                                §
                                                    §   CASE NO. 9:19-CV-201-RC-ZJH
 v.                                                 §
                                                    §   CAB
 STEPHEN F. AUSTIN UNIVERSITY                       §


          ORDER ACCEPTING THE MAGISTRATE JUDGE’S REPORT AND
                          RECOMMENDATION

       The court referred this case to the Honorable Zack Hawthorn, United States Magistrate

 Judge, for all pretrial matters. On October 21, 2020, Judge Hawthorn issued a Report and

 Recommendation granting Defendants’ Motion to Dismiss Plaintiff’s Second Amended

 Complaint (Doc. #18) but allowing Plaintiff an opportunity to amend her Rehabilitation Act

 claim. (Doc. #29). To date, the parties have not filed objections to the report and recommendation

 and the time for doing so has passed.

       After review, pursuant to 28 U.S.C. § 636(b) and Federal Rule of Civil Procedure 72, the

 court agrees with Judge Hawthorn’s recommended disposition and ACCEPTS the Report and

 Recommendation (Doc. #29). Defendants’ Motion to Dismiss (Doc. #18) is GRANTED, in part,

 as to Plaintiff’s claims for relief under the Americans with Disabilities Act and 42 U.S.C. § 1983.

 Those claims are therefore DISMISSED with prejudice.

       Defendants’ Motion to Dismiss (Doc. #18) is DENIED, in part, at this time, as to the

 Rehabilitation Act claim, subject to Plaintiff amending the Rehabilitation Act claim to cure its

 deficiencies as recommended by Judge Hawthorn. Plaintiff is afforded leave to file an amended

 complaint within ten (10) days of this order to correct the deficiencies in the Rehabilitation Act

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 claim as pled. Pursuant to the magistrate judge’s recommendation, the court will dismiss the

 Rehabilitation Act claim if Plaintiff fails to correct those deficiencies.


       So Ordered and Signed
       Nov 6, 2020




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